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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA


 IN RE:

 SUBPOENA FOR ATTENDANCE OF
 WITNESS                                       Civil Action File No.

 FULTON COUNTY SPECIAL
 PURPOSE GRAND JURY


                       NOTICE OF REMOVAL PURSUANT
                              TO 28 U.S.C. § 1442

      COMES NOW, United States Congressman Jody Hice (“Congressman

Hice”) to file this notice of removal of this action to the United States District

Court for the Northern District of Georgia, and sets forth the following grounds

for removal:

      1.       On January 20, 2022, the Fulton County District Attorney requested

the Chief Judge of the Superior Court of Fulton County to convene the entire

Fulton County Superior Court to consider the District Attorney’s request for a

special purpose grand jury. If approved, the purpose would be to investigate

“the facts and circumstances relating directly or indirectly to the possible

attempts to disrupt the lawful administration of the 2020 elections in the State of




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Georgia.” (Exhibit A). Any recommendations would be provided in a report

submitted at the conclusion of the special grand jury.

      2.      Four days later, on January 24, 2022, the Chief Judge granted

authorization for a special purpose grand jury. (Exhibit B).

      3.      The Special Grand Jury was selected and sworn in on May 2, 2022.1

      4.      On June 29, 2022, United States Congressman Jody Hice

(“Congressman Hice”) received service of a subpoena issued by the Fulton

County District Attorney’s Office. Said subpoena requests his attendance and

testimony before the special grand jury on July 19, 2022. (Exhibit C).

      5.      The aforementioned action falls wholly within the jurisdictional

process outlined in the federal officer removal statute, 28 U.S.C. § 1442. The

subpoena at issue is a “civil action or criminal prosecution that is commenced in

a State court” and that is “directed to” a member of Congress. Id. § 1442(a)(4).

Further, [t]he terms ‘civil action’ and ‘criminal prosecution’ include any . . .

subpoena for testimony or documents[.]” Id. § 1442(d). Congressman Hice has

been “an officer of either House of Congress” since January 2015. Id. § 1442(a)(4).




1https://www.ajc.com/news/atlanta-news/fulton-prosecutors-to-begin-jury-
selection-for-trump-probe/IGCWQKPRVBDWRKNAI7LNQAMHJI/

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       6.      Federal case law has been consistent on the far-reaching application

of the federal officer removal statute. In 2020, a claim for breach of contract

against former Congressman Ted Yoho of Florida involving his official duties

was removed from Levy County Court to the United States District Court for the

Northern District of Florida. Goodnow v. Third Cong. Dist. of Fla., 2021 U.S. Dist.

LEXIS 96122. There, the court opined that “the federal officer removal statute is

‘liberally construed’ in favor of granting federal officers and agencies . . . access

to a federal forum in which to litigate the merits of defenses arising from their

official duties.” Id. at 2.

       7.      Courts have even extended the use of the federal officer removal

statute to the official actions of staff members. In 2012, Mr. Daniel McLean was

employed by Senator Bernie Sanders of Vermont. R.L. Vallee, Inc. (“Vallee”) was

a defendant in a state court civil action after it was accused of gasoline price

fixing. McLean v. R.L. Vallee, Inc., 2019 U.S. Dist. LEXIS 92967. During his time in

the Office of Senator Sanders, Mr. McLean was involved in information

gathering and public hearings related to the complicated practice of gasoline

price fixing. Vallee filed a subpoena seeking numerous documents from both Mr.

McLean and the Office of Senator Sanders related to official meetings regarding

gasoline price fixing discussions. Id. Pursuant to 28 U.S.C. § 1442, both Mr.


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McLean and the Office of Senator Sanders were able to remove these subpoenas

to the United States District Court for the District of Vermont. Id.

      8.      And lastly, in Brown & Williamson Tobacco Corp. v. Williams, state-

issued subpoenas to two Members of the House of Representatives were

appropriately removed to federal court and that decision was upheld by the D.C.

Circuit Court of Appeals. Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d

408 (D.C. Cir. 1995). In that case, the court held that the underlying purpose of

the federal officer removal statute “was designed to carry out a congressional

intent ‘that federal officers, and indeed the Federal Government itself, [have] the

protection of a federal forum,’ and that therefore ‘this policy should not be

frustrated by a narrow, grudging interpretation.’” Id. at 413 (quoting Willingham

v. Morgan, 395 U.S. 402, 407). Further, the court went on to apply a broad

definition to the terms outlined in the statute, specifically opining that “‘civil

action, ‘against,’ or ‘act’” are “meant to refer to any proceeding in which state

judicial civil power was invoked against a federal officer.” Id. at 416 (emphasis

added)

      9.      Since Congressman Hice is a member of the United States House of

Representatives and is being asked to testify pursuant to a state-issued subpoena,

the federal officer removal statute should apply, and this action should therefore


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be removed to the United States District Court for the Northern District of

Georgia.

Respectfully submitted this __ day of July, 2022.

                                      THE GOBER GROUP PLC


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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing brief was

prepared double-spaced in 13-point Book Antiqua font, approved by the Court

in Local Rule 5.1(C).


                                                   s/ Loree Anne Paradise
                                                   Loree Anne Paradise




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                    CERTIFICATE OF SERVICE

I hereby certify the foregoing was served upon the following by email:


Fani T. Willis
Michael Hill
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Atlanta, GA 30303
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Dated this 15th day of July, 2022.

                          s/ Loree Anne Paradise
                          Loree Anne Paradise




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